         Case 1:20-cv-00053-ABJ Document 110 Filed 11/08/21 Page 1 of 2




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                          IN THE UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF WYOMING


 GRACIE ANNE FORTH,                        )
                                           )
            Plaintiff,                     )
                                           )
 v.                                        )
                                           )
                                                        Civil No. 20-CV-53-ABJ
 LARAMIE COUNTY SCHOOL DISTRICT No. 1 )
 and John/Jane Does 1-10 in                )
 his/her official and individual capacity. )
                                           )
            Defendants.                    )




                                   NOTICE OF APPEAL


       Notice is hereby given that Gracie Anne Forth, Plaintiff in the above named case, hereby

appeals to the United States Court of Appeals for the Tenth Circuit from the Order Granting
        Case 1:20-cv-00053-ABJ Document 110 Filed 11/08/21 Page 2 of 2




Defendants’ Motion for Summary Judgment and the Judgment entered in this action the 9th day of

September 2021.

       Dated: November 8, 2021

                                                                     s/ Melinda S. McCorkle
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